Executive Constantine announces new process for police inquests - King County   https://www.kingcounty.gov/elected/executive/constantine/news/release/2018/October/03-inque...
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                  King County Courthouse Third Avenue entrance closed until January 1, 2020. Please use alternative routes.




                                                                                            King County Executive
                                                                                               Dow Constantine




            October 3, 2018




             Summary




             Story

            Following last year's convening of a six-person King County Inquest Process and Review
            Committee to examine the public forum that investigates the circumstances surrounding law
            enforcement-involved deaths, Executive Constantine announced a series of reforms to make the
            process more transparent and meaningful.




1 of 6                                                                                                                                                   12/3/2019, 10:31 AM
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            An Executive Order signed on October 3 includes the following provisions:

                   A pool of retired judges will serve as pro tem Inquest Administrators to oversee the process.
                   King County Superior Court will provide a courtroom as required by state law.
                   A Staff Attorney hired on a pro tem basis will assist. The King County Prosecuting Attorney's
                   Office will no longer serve as a neutral facilitator. The Prosecuting Attorney's Office will
                   continue to serve an administrative role, assembling the investigative files, and making the
                   recommendation to the Executive to order an inquest, as required by County Charter.
                   Officials from the investigating agency will offer testimony about the facts of the event. The
                   King County Prosecuting Attorney's Office will no longer have the power to subpoena the
                   responsible officer, and that officer cannot be compelled to testify.
                   Separately, the chief law enforcement officer of the involved agency (or their designee) will
                   testify about the department's use of force policy and training.
                   State law requires a jury of no more than six, and no less than four. Jurors will be asked to
                   determine the facts and circumstances surrounding the death. Instead of being asked
                   whether the officer had reason to fear for their life, jurors will now be asked to determine
                   whether the officer's actions complied with department training and policy.
                   Involved parties may call expert witnesses such as medical examiner and ballistics experts.

            "I believe the new Executive Order will provide families, law enforcement officers, and community
            members with greater transparency and accountability,” said Executive Constantine. “I believe it
            will give the public more confidence in the inquest process, and it will give law enforcement and
            policy-makers greater ability to reflect on how training and policies come into play in often
            difficult situations, and how they may be improved."

            State law authorizes elected coroners or appointed medical examiners to investigate the causes
            and circumstances of any death involving a member of law enforcement in the performance of
            their duties. The King County Charter requires a coroner’s inquest, and King County Code gives
            the Executive control over the inquest process.

            Since the 1970s, inquests have been conducted by District Court judges, who have traditionally
            accepted the delegation of the Executive’s fact-finding duties in a coroner’s inquest. Coroner’s
            inquests have been held before a six-member jury who listen to testimony and then answer
            questions to determine the significant factual issues involved in the case.

            In January 2018, Executive Constantine put all inquests on hold pending the review process. At
            that time, King County District Court informed the Executive that it would no longer accept new




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            requests to conduct inquests.

            There are currently nine pending inquests:

                   Isaiah Obet
                   Damarius Butts
                   Eugene Nelson
                   Tommy Le
                   Charleena Lyles
                   Curtis Elroy Tade
                   Robert J. Lightfeather
                   Mitchell O. Nelson
                   Marcelo A. Castellano

            Executive Constantine’s proposed 2019-2020 budget includes $560,000 for an inquest process
            manager, a pool of pro tem judges, and staff attorneys.

             Relevant links

                   Full text of Executive Order
                   Summary of inquest reforms
                   Matrix of inquest reforms

             Quotes


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                          how they may be improved.

                          Dow Constantine, King County Executive




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